     Case 1:18-cv-00283-GJQ-PJG ECF No. 24 filed 07/24/18 PageID.84 Page 1 of 2



                            UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF MICHIGAN
                                 SOUTHERN DIVISION



CARRIE MOLERO,

               Plaintiff,                                      Case No. 1:18-CV-283

v.                                                             Hon. Gordon J. Quist

JACKSON FINANCIAL, INC.,

               Defendant.
                                    /


                                  ORDER APPROVING
                             REPORT AND RECOMMENDATION

         On June 13, 2018, Magistrate Judge Green filed a Report and Recommendation (R & R)

recommending that the Court deny Plaintiff’s motion for entry of a default judgment against

Defendant Jackson Financial, Inc. and order Plaintiff to file and serve an amended complaint

addressing the pleading deficiencies identified in the R & R.            The magistrate judge also

recommended that the default be set aside as moot at the time Plaintiff files an amended complaint.

(ECF No. 22) The R & R was duly served on Plaintiff on June 13, 2018. Plaintiff failed to file

timely objections pursuant to 28 U.S.C. § 636(b).

         THEREFORE, IT IS ORDERED that the June 13, 2018, R & R (ECF No. 22) is approved

and adopted as the opinion of the Court.

         IT IS FURTHER ORDERED that Plaintiff’s Motion for Entry of Default Judgment (ECF

No. 17) is DENIED.

         IT IS FURTHER ORDERED that within thirty (30) days of the date of this Order,

Plaintiff shall file and serve on Defendant an amended complaint addressing the pleading

deficiencies identified in the R & R. If Plaintiff fails to file an amended complaint within that time,
 Case 1:18-cv-00283-GJQ-PJG ECF No. 24 filed 07/24/18 PageID.85 Page 2 of 2



the complaint shall be dismissed for failure to state a claim. The default against Jackson Financial,

Inc. shall be set aside upon the filing of an amended complaint.


Dated: July 24, 2018                                        /s/ Gordon J. Quist
                                                           GORDON J. QUIST
                                                      UNITED STATES DISTRICT JUDGE
